                        UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF OHIO WESTERN DIVISION


IN RE:                               *       CASE NO.: 24-30137-jpg
Richard Monroe
aka Burt Monroe                      *       JUDGE John P. Gustafson

                                      *      APPLICATION FOR COMPENSATION
                                             OF ATTORNEY FOR DEBTOR(S)
                                      *
               DEBTOR(S)
                                      *      Edward L. Snyder (0018955)
                                             Attorney and Counselor at Law
                                      *      6545 West Central Ave, Suite 203
                                             Toledo, OH 43617
                                      *      419-867-8090; 419-865-1344 fax
                                             edsnyderlaw@totalink.net
                                      *      Attorney for Debtor(s)

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TO THE HONORABLE BANKRUPTCY JUDGE OF THE UNITED STATES
BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF OHIO WESTERN
DIVISION:

               The undersigned, Attorney for the Debtor(s) herein, respectfully represents that as
such attorney, he performed (or will perform) services for the benefit of the estate, a full and
detailed statement of which is hereto attached and made a part hereof including the following:

               1.      Attorney states that no partial allowance has been heretofore made.

              2.      That no agreement has been made, directly or indirectly and that no
understanding exists, for a division of fees between applicant and the trustee, the receiver, the
Debtor or the attorney for any of them and said fees are only payable to attorney for services
rendered on behalf of the Debtor(s) as set forth in Attachment A.

                3.     That the applicant is a sole practitioner who has represented Debtors and
Chapter 13 debtors in hundreds of cases before this Court, and devotes approximately 30% of his
practice to the representation of bankruptcy matters.

               Edward L. Snyder has a Bachelors degree from the University of Toledo and is
also a graduate of the University of Toledo College of Law, where he received a Doctor of
Jurisprudence. He was admitted to the Supreme Court of Ohio on November 1, 1983, and to the
District on June 8, 1984.




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               4.      The average hourly rate charged by attorneys for federal practice ranges
from $50.00 per hour to $300.00 per hour. The applicant charges $200.00 per hour for the legal
services rendered (this includes all expenses, such as postage for pleading(s) required to be
served on all parties); and said fee is a very reasonable fee for the high quality of services and
experience of the attorney rendering said services.

                5.     The aforementioned background and experience of the attorney involved
represents considerable bankruptcy skill of a high quality and expert nature and is a direct value
and benefit to the estate for which the services were rendered.

              WHEREFORE, the applicant asks that he be allowed the sum of $3,000.00,
compensation for the services rendered or to be rendered.



                                                    _/s/_Edward L. Snyder
                                                    EDWARD L. SNYDER
                                                    Attorney for Debtor(s)




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                                        ATTACHMENT A

                                  STATEMENT OF ACCOUNT


Preparation, filing and representation for Chapter 13 Bankruptcy Petition

Hourly Breakdown:

Initial Interview with Client . . . . . . . . . . . . . . . . . . . . . . . .    1.5

Second Interview and Preliminary Review of Documentation/Information .           2.5

Third Interview and Review of Documentation/Information . . . . . . . . .        2.5

Preparation of Petition, Schedules and Plan . . . . . . . . . . . . . . . . .    1.5

Review Petition, Schedules & Plan with Client and sign . . . . . . . . . . .     2.0

Creditor's Meeting and Confirmation Hearing, . . . . . . . . . . . . . . . .     3.0

Claims; Review of Trustee Allowance of Claims, . . . . . . . . . . . . . .       2.0
Receipts and Disbursements


       Total hours = 15 hours x $200.00 per hour = $3,000.00

                                                            Total:      $ 3,000.00

                                               Paid Before Filing:      $ 1,500.00

                                                    Balance Due:        $ 1,500.00

                                       CERTIFICATION

       This is to certify that a copy of the foregoing Application for Compensation of Attorney
for Debtor(s) has been electronically filed or mailed US Mail, postage prepaid this 5th day of
February, 2024, Standing Chapter 13 Trustee, at 13ECFNotices@chapter13toledo.com, and the
Debtor(s).

                                                    _/s/_Edward L. Snyder
                                                    EDWARD L. SNYDER
                                                    Attorney for Debtor(s)




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